Name and address:
        Case 2:21-cv-02620-AB-GJS Document 35 Filed 06/23/21 Page 1 of 1 Page ID #:177
STEPHEN M. LOBBIN
SML AVVOCATI P.C.
969 Hilgard Avenue #1012
Los Angeles, California 90024




                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER
SCANNING TECHNOLOGIES INNOVATIONS, LLC
                                                                                                   2:21-cv-02620-AB-GJS
                                                                Plaintiff(s)
                                       v.
                                                                                       ORDER ON APPLICATION OF NON-
NIGHT OUT, INC.
                                                                                     RESIDENT ATTORNEY TO APPEAR IN A
                                                            Defendant(s).                SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Johnson, Jay B.                                    of Kizzia Johnson PLLC
Applicant’s Name (Last Name, First Name & Middle Initial)                         1910 Pacific Ave., Ste. 13000
214-451-0164                            214-451-0165                              Dallas, Texas 75201
Telephone Number                         Fax Number
jay@kjpllc.com
                              E-Mail Address                                      Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
SCANNING TECHNOLOGIES INNOVATIONS, LLC



Name(s) of Party(ies) Represented                                              Plaintiff(s)    Defendant(s)       Other:
and designating as Local Counsel
Stephen M. Lobbin                                                              of SML AVVOCATI P.C.
Designee’s Name (Last Name, First Name & Middle Initial)                          969 Hilgard Avenue #1012
     181195             949-636-1391                                              Los Angeles, California 90024
Designee’s Cal. Bar No.         Telephone Number           Fax Number
sml@smlavvocati.com
                                E-Mail Address                                    Firm/Agency Name & Address

 HEREBY ORDERS THAT the Application be:
      GRANTED.
      DENIED:  for failure to pay the required fee.
                           for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                           for failure to complete Application:
                           pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
                           is regularly employed or engaged in business, professional, or other similar activities in California.
                           pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;  does not maintain office in District.
                           because

 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                              be refunded      not be refunded.

 Dated          June 23, 2021
                                                                                       U.S. District Judge
G–64 ORDER (5/16)         (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE             Page 1 of 1
